  4:21-cr-03020-JMG-CRZ Doc # 69 Filed: 02/09/23 Page 1 of 1 - Page ID # 186




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,
                                                    4:21CR3020
     vs.
                                           GOVERNMENT’S MOTION TO
                                             DISMISS COUNT TWO
JOHN WADE BURTON,

                 Defendant.

     Comes now the United States, by and through the undersigned
Assistant United States Attorney, and pursuant to Fed. R. Crim. P. 48(a),
hereby moves to dismiss Count Two of the Indictment, which charges the
defendant with the intent to access child pornography on April 17, 2019.
The government intends to proceed to trial on Count One, possession of
child pornography.




                                    Respectfully submitted,
                                    UNITED STATES OF AMERICA,
                                    Plaintiff
                                    STEVEN A. RUSSELL
                                    United States Attorney
                                    District of Nebraska


                              By:
                                    MATTHEW R. MOLSEN, #22693
                                    Assistant U.S. Attorney
                                    100 Centennial Mall North, #487
                                    Lincoln, NE 68508
                                    Tel: (402) 437-5241
                                    Email: Matthew.Molsen@usdoj.gov
